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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETERSEN ENERGÍA INVERSORA,
S.A.U. and PETERSEN ENERGÍA,
S.A.U.,
                                             15 Civ. 2739 (LAP)
                    Plaintiffs,              16 Civ. 8569 (LAP)
-against-
                                                FINAL JUDGMENT
ARGENTINE REPUBLIC and YPF
S.A.,

                    Defendants.
ETON PARK CAPITAL MANAGEMENT,
L.P., ETON PARK MASTER FUND,
LTD., and ETON PARK FUND, L.P.,

                    Plaintiffs,

-against-
ARGENTINE REPUBLIC and YPF
S.A.,
                    Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

    Before the Court are the parties’ competing proposed

judgments and submissions related thereto.        (Dkt. nos. 495, 496,

and 497.)   The Republic, not satisfied with the extraordinary

latitude afforded to it at trial to insert new factual and legal

issues, attempts a final ambush by arguing that the Court’s

finding that interest should run from May 3, 2012, the date on

which the Republic repudiated its obligations, requires that

damages be calculated from that date as well.         (Dkt. no. 496 at

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1-2.)    However, the Court used the May 3, 2012 date for one

purpose only:     to set the date from which “prejudgment interest

should run.”     (Dkt. no. 493 at 15.)      The Court held that,

despite the Republic’s April 16 breach of the Bylaws, its

interest obligations did not begin to run until the Argentine

Congress’ passage of the YPF Expropriation Law on May 3, 2012,

which obviated the need for Plaintiffs to provide Argentina with

a formal notice of default.       (Id. at 17 (as of that date “no

formal request for compliance was necessary”).)           This was the

only issue before the Court because the Republic did not argue

that damages should run from anything other than the Bylaws’

trigger date and, indeed, has never advanced such an argument.

For example, Professor Manóvil, testified that the Court could

“establish[] . . . the date from which eventually the tender

offer should have been conducted,” “[b]ut the right to get

interest is only from the request to pay damages.”           (Tr. 295:8-

12; see also Tr. 294:20-25 (“One thing is that the Court may

decide that the tender offer was due on” a certain date

“[s]omething else is since when the interest will run if

somebody claims damage . . . because of not complying with the

obligation”).)     The Republic repeated the point in its posttrial

brief. (Dkt. no. 482 at 15 (“interest should accrue only from

the service of Plaintiffs’ Complaints”).)          Professor Harris also

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“calculated damages by taking the “tender offer price on the

notice date,” “multiplying the number of shares owned by the

parties on the trigger date,” and “then deducting the value of

the shares as of the trigger date.”        (Tr. 367:16-24.)

    As such, the Court did not hold that damages, as opposed to

interest, should run from May 3, 2012, because the Republic

chose to forgo such an argument.        The Court’s holding regarding

May 3, 2012, relates only to interest and is not an invitation

to relitigate the proper calculation of damages.

    Therefore, it is hereby, ORDERED, ADJUDGED AND DECREED that

Plaintiffs Petersen Energía Inversora, S.A.U. and Petersen

Energía, S.A.U. (together, “Petersen”) and Eton Park Capital

Management, L.P., Eton Park Master Fund, Ltd., and Eton Park

Fund, L.P. (together, “Eton Park,” and together with Petersen,

“Plaintiffs”) shall recover on their claim for breach of

contract from defendant the Argentine Republic (the “Republic”)

as follows:

    1. Petersen shall recover from the Republic $14,385,449,737

which figure is comprised of (i) $7,533,269,948 in damages; plus

(ii) $6,852,179,789 (representing 8% simple prejudgment interest

from May 3, 2012 through the date of the entry of judgment,

September 15, 2023).    Petersen shall also recover post-judgment

interest under 28 U.S.C. § 1961, calculated from the date of the

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entry of this judgment at a rate of 5.42% per annum, computed

daily to the date of payment and compounded annually.

    2. Eton Park shall recover from the Republic $1,714,338,556

which figure is comprised of (i) $897,752,615 in damages; plus

(ii) $816,585,941 (representing 8% simple prejudgment interest

from May 3, 2012 through the date of the entry of judgment,

September 15, 2023).       Eton Park shall also recover post-judgment

under 28 U.S.C. § 1961, calculated from the date of the entry of

this judgment at a rate of 5.42% per annum, computed daily to

the date of payment and compounded annually.

    It is further ORDERED, ADJUDGED AND DECREED that all of

Plaintiffs’ other claims against defendant the Argentine

Republic, including claims for anticipatory breach, breach of

the duty of good faith and fair dealing and promissory estoppel,

are dismissed and that all of Plaintiffs’ claims against

defendant YPF S.A. are dismissed.

    The Clerk of Court is directed to enter this judgment and

to mark these actions closed.

SO ORDERED.

Dated:       New York, New York
             September 15, 2023


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                               LORETTA A. PRESKA
                               Senior United States District Judge

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